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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 CARLOS URENA,

                                       Petitioner,                    18 Civ. 9995 (PAE)
                        -v-                                           11 Cr. 1032-4 (PAE)

 UNITED STATES,
                                                                            ORDER
                                       Respondent.


PAUL A. ENGELMAYER, District Judge:

       The Court has received the attached letter (“Urena Letter”) from petitioner Carlos Urena

acknowledging receipt of the Government’s opposition to his § 2255 motion. The letter

indicates that Urena has not yet received a copy of the Government’s opposition, Dkt. 30, and

requests additional time to reply.

       In their respective submissions, both Urena and the Government rely on the Second

Circuit’s decision in United States v. Scott, 954 F.3d 74 (2d Cir. 2020), in which the Second

Circuit held that “New York first-degree manslaughter is not a predicate crime of violence

because it can be committed by complete inaction and therefore without the use of force[.]” Id.

at 78; see also Dkts. 25 (“Urena Mem.”), 30 (“Gov. Opp.”). However, the Court understands the

Government has moved for en banc reconsideration of the decision in Scott. See Gov. Opp. at 3.

Accordingly, the Court will stay all further briefing on Urena’s motion pending the en banc

decision.

       The Clerk of Court is respectfully directed to mail a copy of this order and the

Government’s opposition at docket 13 to Urena, who is currently housed at the United States

Penitentiary Allenwood in Pennsylvania.
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      SO ORDERED.



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                                                PAUL A. ENGELMAYER
                                                United States District Judge
Dated: November 6, 2020
       New York, New York




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